Case 8:23-cv-01333-FWS-JDE           Document 60-4         Filed 03/27/25      Page 1 of 2 Page ID
                                           #:998



 INTERNATIONAL ELECTIVES AND
 ACTIVITIES POLICY
 The University of California, Irvine encourages student involvement in international electives
 and activities. This policy ensures central oversight of sponsored international electives and
 activities.

 International Electives

 The School of Medicine encourages students to arrange extramural international rotations at
 institutions that have existing affiliation agreements with the School.

 If a student wishes to pursue an international course or rotation at an institution that does not
 have an affiliation agreement with the School, the following information must be reviewed and
 approved by the Associate Dean for Clinical Science Education prior to the commencement of
 the international elective:

    1.  Location for course or rotation including country and institution
    2.  Dates of educational experience
    3.  Title of clerkship or course
    4.  Educational goals and objectives
    5.  Instructional methods and activities
    6.  Student’s detailed contact information abroad so that he or she may be reached by UCI in
        case of emergency
    7. Name and title of responsible supervising faculty member
    8. Name, title, email address and/or telephone number of an institutional representative at
        the educational site (e.g., dean, department chair, hospital or clinic director, etc.) who will
        serve as the primary point of contact with the UCI School of Medicine. The course or
        rotation will not be approved until a UCI associate dean reviews it via correspondence
        with the designated institutional representative
    9. Location of emergency care while on the elective
    10. Proof that country is not on the United States Department of State Travel Warning List
    11. Proof of travel insurance that includes health coverage and emergency evacuation
        services while abroad (see Travel Insurance section below)
    12. Statement from health provider that student has met immunization requirements for travel
        to the rotation location. Do not send health or immunization records.

 Students seeking academic credit for an international extramural elective can formally petition
 for such credit by completing the “International Extramural Elective Form.” This form is
 available through the online Student Handbook. Students should discuss their proposed rotation
 with their career advisors and the Associate Dean for Clinical Science Education prior to
 completing the form. This form must be filled out completely and signed by the Associate Dean
 for Clinical Science Education prior to commencement of the elective in order to receive
 academic credit.




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Case 8:23-cv-01333-FWS-JDE             Document 60-4        Filed 03/27/25       Page 2 of 2 Page ID
                                             #:999



 Students receiving academic credit from the UCI School of Medicine must also complete and
 submit a written evaluation form of the rotation at the conclusion of the international experience.

 International Extramural Activities

 Students seeking educational resource support, Medical Education sponsorship, and/or
 institutional endorsement for an international extramural activity must seek approval from the
 Associate Dean for Student Affairs prior to commencement of the activity.

 Travel Insurance

 Students engaging in international electives and activities should visit the UCOP Travel
 Assistance website for information regarding travel insurance. Students on international electives
 and activities may qualify for UC-sponsored travel insurance. Students can register their trip to
 see if they qualify for coverage. Students who do not qualify for UC-sponsored travel insurance
 are highly encouraged to purchase discounted personal travel insurance through the UC Personal
 Travel Program (http://www.ucop.edu/risk-services/loss-prevention-control/travel-assistance/).

 United States Department of State Travel Warning List

 In order to ensure student safety, the School of Medicine is unable to grant academic credit,
 educational resource support, Medical Education sponsorship, or institutional endorsement for
 any course, rotation, or extramural activity that takes place in a country listed on the United
 States Department of State Travel Warnings List
 (https://travel.state.gov/content/passports/en/alertswarnings.html).

 Should a student be in the process of completing an approved course, rotation, or extramural
 activity at the time that the country is placed on the warning list, it is expected that the student
 will immediately cease the course, rotation, or extramural activity and return to the United
 States.

 The only exception to the above travel warning list restrictions will be in the case of travel to
 Canada or Mexico. In those cases, the Associate Dean for Clinical Science Education may grant
 a waiver based on regional considerations, local support services, emergency evacuation plans,
 and the unique educational value of the experience.

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